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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

  ____________________________________
                                       )
  STATE OF LOUISIANA, et al.,          )
                                       )
                          Plaintiffs,  )
                                       )
              v.                       )   Civil Action No. 6:22-CV-00885-RRS-CBW
                                       )
  CENTERS FOR DISEASE CONTROL          )
  & PREVENTION, et al.,                )
                                       )
                          Defendants.  )
  _____________________________________)


     DEFENDANTS’ MONTHLY REPORT FOR THE MONTH OF FEBRUARY 2023
          PURSUANT TO THE COURT’S PRELIMINARY INJUNCTION
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         Pursuant to the Court’s May 20, 2022 preliminary injunction order, ECF No. 91, Defendants

  herein provide, subject to the caveats discussed below, data showing, for the month of February 2023,

  (1) the number of single adults processed under Title 42 and Title 8 by country, (2) the number of

  recidivist border crossers for whom the U.S. Customs and Border Protection (“CBP”), Department

  of Homeland Security (“DHS”), has applied expedited removal, (3) the number of noncitizens that

  have been excepted from Title 42 under the CBP One supported humanitarian exception process, and

  (4) any material changes to policy regarding DHS’s application of the Title 42 process.

             1. The number of single adults processed under Title 42 and Title 8 by country.

         Below is the data for single adult encounters by CBP at the Southwest land border for the

  period of February 1–28, 2023.

   Component                     Citizenship                          Title 8    Title 42     Total
     OFO                       AFGHANISTAN                               3          0          3
                                ARGENTINA                                4          1           5
                                  ARMENIA                               88          1          89
                                AZERBAIJAN                              10          0          10
                                  BELARUS                               71          0          71
                                  BELGIUM                                1          0          1
                                   BELIZE                                6          0          6
                                  BOLIVIA                                4          0          4
                                BOTSWANA                                 1          0          1
                                   BRAZIL                               12          1          13
                                 BULGARIA                                0          1          1
                                CAMEROON                                 3          0          3
                                  CANADA                                 5          4          9
                                   CHILE                                10          3          13
                        CHINA, PEOPLES REPUBLIC OF                      18          4          22
                                 COLOMBIA                               86          1          87
                                COSTA RICA                               3          0          3
                                    CUBA                               478          1         479
                                 DOMINICA                                1          0          1
                           DOMINICAN REPUBLIC                           22          4          26
                                 ECUADOR                                40          4          44
                                   EGYPT                                 1          0           1
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                         EL SALVADOR                   137       5      142
                             ESTONIA                     1       0       1
                            ETHIOPIA                     0       1       1
                             FRANCE                      0       4       4
                            GEORGIA                      2       0        2
                            GERMANY                      4       3        7
                          GUATEMALA                    100     20       120
                               HAITI                  5,468     34     5,502
                           HONDURAS                    550       9      559
                               INDIA                     1       0       1
                           INDONESIA                     1       0        1
                                IRAN                     3       0       3
                              ISRAEL                     0       1       1
                               ITALY                     2       0       2
                             JAMAICA                    2        0       2
                              JAPAN                      1       0       1
                             JORDAN                     1        0       1
                         KAZAKHSTAN                     29       0       29
                         KYRGYZSTAN                    198       1      199
                               LIBYA                    0        2       2
                        MACAO (MACAU)                    0       1       1
                       MARSHALL ISLANDS                  0       1       1
                             MEXICO                   3,012   1,495    4,507
                            MOLDOVA                     12       1       13
                          NICARAGUA                    201       4      205
                             NIGERIA                     3       0       3
                             PANAMA                     2        0       2
                                PERU                    13       2       15
                           PORTUGAL                      0       1       1
                            ROMANIA                      2       0       2
                              RUSSIA                  2,113      2     2,115
                         SOUTH KOREA                     3       0       3
                               SPAIN                    20       7       27
                            SURINAME                     1       0       1
                             SWEDEN                     1        0       1
                         SWITZERLAND                     1       0        1
                   TAIWAN - REPUBLIC OF CHINA            0       1        1
                           TAJIKISTAN                   25       0       25
                             TURKEY                      8       0       8


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                         TURKMENISTAN                    3       0       3
                             UKRAINE                     4       4       8
                       UNITED KINGDOM                    2       2        4
                            UNKNOWN                     8        4       12
                           UZBEKISTAN                   33       0       33
                           VENEZUELA                  3,049     26     3,075
                             VIETNAM                     6       0        6
                             OFO Total               15,889   1,656   17,545
     USBP                 AFGHANISTAN                  168       0      168
                             ALBANIA                    20       0       20
                             ANGOLA                    224       3      227
                           ARGENTINA                     8       0        8
                             ARMENIA                    16       2       18
                           AZERBAIJAN                   16       0       16
                          BANGLADESH                    99       0       99
                             BELARUS                     1       0       1
                              BELIZE                   229       0      229
                               BENIN                     3       0       3
                             BOLIVIA                   105       0      105
                              BRAZIL                   665       0      665
                            BULGARIA                     1       0       1
                   BURKINA FASO (UPPER VOLTA)           30       0       30
                             BURUNDI                     3       0       3
                           CAMEROON                    195       0      195
                             CANADA                      2       0       2
                    CAPE VERDE, REPUBLIC OF              2       0       2
                               CHAD                      4       0       4
                               CHILE                     5       0       5
                   CHINA, PEOPLES REPUBLIC OF         1,117      6     1,123
                            COLOMBIA                  5,655   1,294    6,949
                           COSTA RICA                   29       0       29
                               CUBA                     53      92      145
                 DEMOCRATIC REPUBLIC OF CONGO
                                                       63      0        63
                              (ZAIRE)
                             DJIBOUTI                    6      0        6
                      DOMINICAN REPUBLIC              2,654     6      2,660
                            ECUADOR                   1,719   1,090    2,809
                              EGYPT                     29      0        29
                          EL SALVADOR                  335    2,739    3,074
                      EQUATORIAL GUINEA                 10      0        10

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                             ERITREA                   117       0       117
                            ETHIOPIA                    98       0        98
                             FRANCE                      1       0        1
                              GABON                      1       0         1
                             GAMBIA                     13       0        13
                            GEORGIA                    372       0       372
                           GERMANY                       1       0         1
                              GHANA                    174       0       174
                          GUATEMALA                    663    7,710     8,373
                             GUINEA                     58       0        58
                        GUINEA-BISSAU                    6       0        6
                             GUYANA                      1       0        1
                               HAITI                     6       7        13
                          HONDURAS                     592     5,766    6,358
                               INDIA                  1,472      0      1,472
                                IRAN                    30       0        30
                                IRAQ                     2       0        2
                              ISRAEL                     1       0        1
                               ITALY                     1       0        1
                         IVORY COAST                     7       0        7
                             JAMAICA                   175       0       175
                             JORDAN                     13       0        13
                         KAZAKHSTAN                    118       0       118
                              KENYA                      1       0         1
                             KOSOVO                     14       0        14
                         KYRGYZSTAN                     13       0        13
                          LITHUANIA                      1       0        1
                                MALI                    18       0        18
                          MAURITANIA                   354       1       355
                             MEXICO                   6,169   43,914   50,083
                MICRONESIA, FEDERATED STATES OF          0       1        1
                           MOLDOVA                       3       0        3
                           MOROCCO                       9       0        9
                         MOZAMBIQUE                      3       0        3
                              NEPAL                     93       0        93
                          NICARAGUA                     67      238      305
                              NIGER                      4       0        4
                             NIGERIA                    55       1        56
                            PAKISTAN                    74       0        74


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                                PANAMA                                 29        0           29
                               PARAGUAY                                13        0           13
                                   PERU                              2,836     159         2,995
                              PHILIPPINES                               1        0            1
                   REPUBLIC OF CONGO (BRAZZAVILLE)                    37        0           37
                      REPUBLIC OF SOUTH AFRICA                          2        0            2
                                ROMANIA                               103        1          104
                                  RUSSIA                               83        0           83
                        SAO TOME AND PRINCIPE                           1        0           1
                                SENEGAL                               192        0          192
                                 SERBIA                                 1        0            1
                             SIERRA LEONE                               5        1            6
                                SOMALIA                               160        0          160
                             SOUTH KOREA                                1        0           1
                                  SPAIN                                 3        0           3
                               SRI LANKA                               41        0           41
                                 SUDAN                                  9        0           9
                                SWEDEN                                  2        0           2
                                  SYRIA                                24        0           24
                               TAJIKISTAN                              59        0           59
                               TANZANIA                                 3        0            3
                                  TOGO                                  5        0           5
                                 TURKEY                               928        0          928
                                UGANDA                                  2        0           2
                                UKRAINE                                 2        0           2
                                URUGUAY                                1         0           1
                              UZBEKISTAN                              503        0          503
                              VENEZUELA                               169      491          660
                                VIETNAM                               160        0          160
                                 YEMEN                                 13        0           13
                               ZIMBABWE                                 1        0           1
                             USBP SBO Total                         29,655    63,522      93,177
                       CBP SBO Total                                45,544    65,178      110,722


         2. The number of recidivist border crossers for whom DHS has applied expedited
            removal.

          From February 1–28, 2023, U.S. Border Patrol (“USBP”) applied expedited removal, 8 U.S.C.

  § 1225(b)(1), to 1,477 single adults who attempted to unlawfully enter the United States between a

                                                  5
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  port of entry and who had previously been encountered by USBP and processed under Title 42 or

  Title 8 at least one time since March 20, 2020.

         3. The number of Title 42 exceptions under the CBP One supported humanitarian
            exception process.

         From February 1–28, 2023, CBP’s Office of Field Operations processed 20,778 Title 42

  exceptions under the CBP One supported humanitarian exception process. The below shows the data

  broken down by port.

                            Brownsville, TX: 5,234
                            Hidalgo, TX: 3,785
                            Laredo, TX: 1,150
                            Eagle Pass, TX: 1,093
                            Paso del Norte, El Paso, TX: 2,170
                            Nogales, AZ: 1,086
                            Calexico, CA: 760
                            San Ysidro, CA: 5,500

         4. Any material changes to policy regarding DHS’s application of the Title 42 process.

         As previously reported, CDC’s August 2021 Title 42 order provides that it “shall remain

  effective” until “the expiration of the Secretary of HHS’ declaration that COVID-19 constitutes a

  public health emergency.” 86 Fed. Reg. at 42,841. On February 9, 2023, the HHS Secretary renewed

  the declaration of public health emergency until May 11, 2023. See Renewal of Determination that a

  Public Health Emergency Exists (Feb. 9, 2023), https://perma.cc/M7F7-C4AY; see also 42 U.S.C. §

  247d. The Administration has further stated that “at present,” its plan is for the public health

  emergency to end on May 11, 2023. OMB, Statement of Administration Policy: H.R. 382 and H.J. Res. 7

  (Jan. 30, 2023), https://perma.cc/LPQ4-TC3Y. Accordingly, absent other relevant developments,

  the operative Title 42 order will terminate automatically on May 11, 2023, when the public health

  emergency ends.

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  Date: March 16, 2023                      Respectfully submitted,

                                            BRIAN M. BOYNTON
                                            Principal Deputy Assistant Attorney General
                                            U.S. Department of Justice, Civil Division

                                            JEAN LIN
                                            Special Litigation Counsel (NY #4074530)

                                            /s/ John Robinson
                                            JOHN ROBINSON (DC #1044072)
                                            Trial Attorney
                                            1100 L St. N.W.
                                            Washington, DC 20530
                                            U.S. Department of Justice, Civil Division
                                            Federal Programs Branch
                                            (202) 616-8489
                                            jean.lin@doj.gov
                                            john.j.robinson@usdoj.gov

                                            Attorneys for Defendants




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